      Case 7:21-cv-06513-KMK-PED Document 10 Filed 11/09/21 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 John W. Lynn,                                             DISCOVERY ORDER
                               Plaintiff(s),
                                                              7:21-cv-06513-KMK-PED
                 - against -

 Equifax Information Services, LLC
                                   Defendant(s).



        In order to facilitate the progress of pre-trial discovery of this litigation in a just, speedy
and inexpensive manner, to insure compliance with the case management plan, and to prevent the
accumulation of unresolved discovery issues, the following procedures will be followed for the
resolution of discovery disputes:


        The party objecting to disclosure, claiming an insufficient response to a discovery
request, or asserting a privilege bears the burden of coming forward by bringing the dispute to the
attention of the court as hereinafter set forth.


        The objecting party has 3 business days from the date the dispute arises to attempt an
amicable resolution of the dispute. If the dispute is not affirmatively resolved within 3 business
days, the objecting party then has 5 business days to bring the issue to the attention of the court
by a letter brief limited to two (2) double spaced pages. Opposing parties have 5 business days
thereafter to submit a two (2) page double spaced answering brief. If appropriate, counsel may
annex to the letter briefs relevant portions (only) of relevant documents. Written replies will not
be accepted. If the court deems it necessary the parties will have an opportunity to make oral
replies to points made in the letter briefs on the return day of the matter.


         When a legal privilege is asserted as a basis for refusing to comply with a discovery
demand, the party asserting the privilege has 3 business days to attempt an amicable resolution
of the dispute. If the dispute is not affirmatively resolved within 3 business days, the party
asserting the privilege then has 5 business days to bring the issue to the attention of the court by
a letter brief limited to two (2) double spaced pages, accompanied by a written statement by
counsel providing all information required to be in full compliance with Local Civil Rule 26.2
and an in camera submission of legible copies of any written material, and a written statement
setting forth the sum and substance of any oral statement to which the privilege is asserted. If
disclosure of the information required by Local Civil Rule 26.2 would result in a revelation of
privileged information, the party asserting the privilege shall file the information in camera with
the court, and serve a redacted copy on the adverse party. Opposing parties have 4 business days
to serve and file an answering two page double spaced letter brief. No written replies will be
accepted. If the court deems it necessary the parties will have an opportunity to make oral replies
to points raised in the letter briefs on the return day of the matter.
      Case 7:21-cv-06513-KMK-PED Document 10 Filed 11/09/21 Page 2 of 2
        Any failure to comply with the terms of this order by not filing objections to discovery or
assertions of privilege in accordance with the time constraints and in the form required by this
order may result in waivers of legal rights and privilege.


        A dispute arises on the day when the discovery request or discovery response objected to
is received by the adverse party. The time for asserting privilege starts 4 business days from the
day when counsel for the objecting party receives the documents from his or her client, but in no
event more than 30 days from the date when the documents are demanded, unless otherwise
ordered by the court.


         The time limitations set forth herein and in scheduling orders made by the court are to be
strictly observed, and the parties and counsel are not authorized to extend any of the set time
limitations without the prior approval of the court.


         On matters assigned for pre-trial supervision any party wishing to file objections to a
discovery ruling entered orally on the record shall, on the date of the ruling, order a transcript of
the record setting forth the ruling, on a two (2) day expedited basis. The party shall have
fourteen (14) days from the date of the receipt of the record to file the objections with the
assigned District Judge. A failure to file the objections in accordance with these directions may
result in a failure to file timely objections.


       The attention of counsel and the parties is respectfully directed to Federal Rule of Civil
Procedure 30 (d) regarding the conduction of depositions. If a privilege objection is raised at a
deposition counsel are directed to contact chambers by telephone from the deposition for rulings.




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